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 1
                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 2

 3
                                                 )     Lead Case No.
 4    IN RE: JAMES ZILBERT                       )
 5                                               )
      ALL CASES                                  )          2:17-cv-02617-JAK-SK
 6
                                                 )
 7                                               )
 8                                               )
                                                 )     ORDER OF DISMISSAL
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           IT IS HEREBY ORDERED that pursuant to the Stipulation of the Parties,
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     this matter is dismissed in its entirety, with prejudice as to the named Plaintiffs,
15
     and without prejudice as to the Putative Classes alleged in the complaints,
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     pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear
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     their own costs and attorneys’ fees.
18                                             Dated this June 26, 2018
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21                                              _______________________________
                                                 Honorable Judge of the District Court
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                                         Order to Dismiss - 1
